                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:12CV483-FDW
                                 (3:03-cr-36-FDW-1)

WILLIAM JUNIOR JACOBS,              )
                                    )
                        Petitioner, )
                                    )
            vs.                     )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                        Respondent. )
___________________________________ )

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside, or

Correct Sentence filed under 28 U.S.C. § 2255, (Doc. No. 1). For the reasons that follow, the

Court finds that this is an unauthorized, successive petition, and the Court therefore dismisses the

Motion to Vacate.

       1. BACKGROUND

       On January 9, 2004, Petitioner pled guilty in this Court to conspiracy to possess with

intent to distribute and to distribute cocaine powder and cocaine base, in violation of 21 U.S.C.

§§ 841 and 846 (Count One); using and carrying a firearm during and in relation to a drug

trafficking crime and, in furtherance of such drug trafficking crime, possessing said firearm, and

aiding and abetting the same, in violation of 18 U.S.C. §§ 924(c) and 2 (Count Eleven); and

being a convicted felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g) and 924(e)

(Count Twelve). (Crim. Case No. 3:03cr36, Doc. No. 119: Plea Agreement; Doc. No. 173:

Judgment). After granting the Government’s motion for downward departure, the Court

sentenced Petitioner to 240 months’ imprisonment. (Id., Doc. No. 173: Judgment).

       Petitioner did not directly appeal his sentence or conviction. On October 7, 2005,




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Petitioner filed a Motion to Vacate, Set Aside, or Correct Sentence. (Id., Doc. No. 206: Civil

Case No. 3:05cv427). On October 18, 2005, this Court granted the motion to vacate, and

Judgment was re-entered on December 15, 2005, to allow Petitioner to file a timely appeal. (Id.,

Doc. Nos. 211; 216). Petitioner filed an untimely appeal on June 26, 2006. (Id., Doc. No. 227).

On June 4, 2007, the Fourth Circuit dismissed Petitioner’s appeal as untimely. (Id., Doc. No.

243).

         On July 16, 2010, Petitioner filed a second Section 2255 motion to vacate, which this

Court denied and dismissed on July 19, 2010. (Id., Doc. Nos. 309; 310: Civil No. 3:10cv323).

On August 3, 2012, Petitioner filed the pending Section 2255 motion to vacate, in which he

contends that he is eligible for relief under the Fourth Circuit’s en banc decision in United States

v. Simmons, 649 F.3d 237 (4th Cir. 2011).

   II.      DISCUSSION

         Petitioner filed the instant Motion to Vacate on August 3, 2012, seeking to have the Court

vacate his conviction and sentence in Criminal Case No. 3:03cr36. As noted, Petitioner filed two

previous motions to vacate the same conviction and sentence. Thus, this is the third Section

2255 petition filed by Petitioner challenging the conviction and sentence in Criminal Case No.

3:03cr36.

         Pursuant to 28 U.S.C. § 2244(b)(3)(A), “[b]efore a second or successive application

permitted by this section is filed in the district court, the applicant shall move in the appropriate

court of appeals for an order authorizing the district court to consider the application.” Thus,

Petitioner must first obtain an order from the Fourth Circuit before this Court will consider any

second or successive petition under 28 U.S.C. § 2255. Petitioner has not shown that he has

obtained the permission of the Fourth Circuit to file a successive petition. See also 28 U.S.C. §




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2255(h) (stating that “[a] second or successive motion must be certified as provided in section

2244 by a panel of the appropriate court of appeals”). Accordingly, this unauthorized,

successive petition must be dismissed. See Burton v. Stewart, 549 U.S. 147, 153 (2007) (holding

that failure of petitioner to obtain authorization to file a “second or successive” petition deprived

the district court of jurisdiction to consider the second or successive petition “in the first place”).

Accord Everette v. United States, 5:04-cv-358, 2012 WL 4486107 (E.D.N.C. Sept. 28, 2012)

(dismissing a § 2255 motion as a successive petition where the petitioner raised a claim under

United States v. Simmons, 649 F.3d 237 (4th Cir. 2011)).

   III.      CONCLUSION

          For the foregoing reasons, the Court will dismiss Petitioner’s Section 2255 Motion to

Vacate for lack of jurisdiction because the motion is a successive petition and Petitioner has not

first obtained permission from the Fourth Circuit to file the motion.

          IT IS, THEREFORE, ORDERED that:

          1. Petitioner’s Motion to Vacate, (Doc. No. 1), is DISMISSED as a successive petition.

          2. IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

             Section 2254 and Section 2255 Cases, this Court declines to issue a certificate of

             appealability. See 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 338

             (2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

             jurists would find the district court’s assessment of the constitutional claims debatable

             or wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (when relief is denied on

             procedural grounds, a petitioner must establish both that the dispositive procedural

             ruling is debatable and that the petition states a debatable claim of the denial of a

             constitutional right).




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                          Signed: March 4, 2013




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